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      6
                                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                          FOR THE COUNTY OF CLACKAMAS
      8
         AIRPORT CONCESSION CONSULTING)                            Case No._________
         SERVICES LLC, a limited liability )
     10 company, and PATRICK GLEASON, an                           COMPLAINT
         individual,                       )
                                           )                       (Breach of Contract; Duty to Defend)
     ii                                    )
                             Plaintiffs,   .

                                           )                       JURY TRIAL DEMANDED
     12                                    )
                 V.                        )                       Prayer: $142,500.00
     13                                    )
         SENTINEL INSURANCE COMPANY,       )                       Fee Authority: ORS 21.160(1)(c)
     14 LTD., a foreign corporation,       )
                                           )                       NOT SUBJECT TO MANDATORY
     15                      Defendant.    )                       ARBITRATION
     16
     17               Plaintiffs Patrick Gleason ("Gleason") and Airport Concession Consulting Services

     18     LLC ("ACCS"), for their complaint, do hereby allege as follows:

     19                                                  PARTIES

     20                                                       1.

     21               ACCS was at all material times a limited liability company with its principal place of

     22     business in Damascus, Oregon.

     23                                                       2.

     24               At all material times, Gleason was an Oregon resident and sole owner, member and

     25     manager of ACCS,
     26 111

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     1                                                        3.
     2                 Defendant Sentinel Insurance Company Ltd. ("Sentinel") is an insurance company
     3     domiciled in Connecticut with its principal place of business in Hartford, Connecticut. At all
     4     material times, Sentinel was doing business in the State of Oregon and issued the policies of
     5     insurance discussed further below to ACCS in Oregon.
     6                                        JURISDICTION AND VENUE
     7                                                        4.
     8                 This Court has jurisdiction over Sentinel because Sentinel transacted insurance in
     9     Oregon within the meaning of the Oregon Insurance Code, ORS 731.146, and because the
    10     claim giving rise to this lawsuit arose out of the risks for which Sentinel provided coverage
    11     within Oregon.
    12                                                        5.
    13                 Venue lies with this Court under ORS 14.080 because Sentinel conducts regular
    14     sustained business activity in Clackamas County, Oregon and the events that gave rise to this
    15     cause of action occurred in whole or in part within Clackamas County.
    16                                                THE POLICIES
    17                                                        6.
    18                 Sentinel issued a series of successive insurance policies to ACCS, which, among other
    19     times, were in effect from September 25, 2010 to September 25, 2013 (hereinafter collectively
    20     referred toas "the Policies"). The Policies were purchased by ACCS while ACCS maintained
    21     its principal place of business in Oregon.
    22                                                        7.
    23                 At all relevant times, Gleason was a member and manager of ACCS and an insured
    24     under the Policies with respect to the conduct of ACCS's business.
    25
    26     III

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 1                                                                 8.
 2                The Policies include the following insuring agreement:
 3                           We will pay those sums that the insured becomes legally obligated to pay as
 4                           damages because of "bodily injury", "property damage" or "personal and
 5                           advertising injury" to which this insurance applies. We will have the right and
 6                           duty to defend the insured against any "suit" seeking those damages.
 7                                                                 9.
 8                The Policies include the following definitions:
 9                           "Personal and advertising injury" means injury, including consequential "bodily
10                           injury", arising out of one or more of the following offenses:            '   **


11                                    d. Oral, written or electronic publication of material that slanders or libels a
12                                       person or organization or disparages a person's or organization's goods,
13                                       products or services; * * *
14                                    h. Discrimination or humiliation that results in injury to the feelings or
15                                        reputation of a natural person.
16                                                THE UNDERLYING LAWSUIT
17                                                                 10.
18                Diego Concession Group LLC ("DCG") filed a lawsuit in the Superior Court for the
19     State of California, County of San Diego entitled Diego Concession Group LLC v. San Diego
20     County Regional Airport Authority; Robert H. Gleason, Case No. 37-2012-00088083-CU-BT-
21     CTL ("Underlying Lawsuit"). Gleason and ACCS were added as defendants to the Underlying
22 Lawsuit.
23
24                In the Underlying Lawsuit, DCG alleged that the San Diego County Regional Airport
25     Authority ("Authority") issued various Requests for Proposal ("RFPs") for food service and
26     /1/

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 1     retail concessions. DCG further alleged that DCG timely submitted responses to some of the
 2 RFPs.
 3                                                       12.
 4                DCG alleged in the Underlying Lawsuit that the Authority retained ACCS and Gleason
 5     to analyze information submitted by the bidders, including DCG's bid packages.
 6                                                       13.
 7                DCG further alleged in the Underlying Lawsuit that ACCS and Gleason misrepresented
 8     DCG's qualifications by making false statements to the Authority that DCG was not financially
 9     qualified, did not properly respond to the Authority's request for financial information, and was
10     "nonresponsive" to follow up inquiries.
11                                                       14.
12                As a result of these alleged false representations, DCG claimed that it was deprived of
13     any chance of being the winning bid for the various RFPs.
14                                                       15.
15                DCG filed claims against ACCS and Gleason in the Underlying Lawsuit for, among
16     other things, negligent misrepresentation, trade libel, intentional interference with prospective
17     economic advantage, negligent interference with prospective economic advantage, and unfair
18     competition. ACCS denied the allegations and ultimately prevailed at trial against DCG.
19                                                       16.
20                ACCS and Gleason tendered the Underlying Lawsuit to Sentinel and requested that
21     Sentinel defend them against the claims alleged by DCG in the Underlying Lawsuit.
22                                                       IT
23                Sentinel wrongfully refused to defend ACCS and Gleason.
24                                                       18,
25                As a result of Sentinel's wrongful denial of ACCS's and Gleason's tender of defense,
26     ACCS and Gleason were forced to retain defense counsel to defend against the claims alleged

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 1     in the Underlying Lawsuit and incurred no less than $142,500 in legal fees and expenses.
 2                                                          19.
 3                ACCS and Gleason have not been reimbursed for the legal fees and expenses incurred
 4     in the Underlying Lawsuit.
 5                                           FIRST CLAiM FOR RELIEF
 6                                   (Breach of Contract Breach of Duty to Defend)
                                                        -




 7                                                          20.
 8                Paragraphs 1-19 are incorporated herein as if expressly alleged.
 9                                                          21.
10               The Policies are valid and enforceable contracts that obligated Sentinel to defend ACCS
11     and Gleason against the allegations and claims alleged in the Underlying Lawsuit.
12                                                          22.
13                ACCS and Gleason performed and/or satisfied all obligations and conditions precedent
14     required by the Policies, except any that were waived and/or excused by Sentinel, or as to
15     which performance was prevented or no longer required due to Sentinel's conduct.
16                                                          23.
17                Pursuant to the Policies, Sentinel was required to defend ACCS and Gleason from the
18     claims alleged in the Underlying Lawsuit and pay for ACCS's and Gleason's legal fees and
19     expenses incurred in their defense.
20                                                          24:
21                Sentinel breached the Policies by refusing to defend ACCS and Gleason in the
22     Underlying Lawsuit.
23                                                          25.

24                Sentinel's breach of its contractual obligations under the Policies has caused ACCS and

25     Gleason damages in an amount to be proven at trial, but not less than $142,500.
26 /11

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 2                 Payment due under the Policies was either ascertained or readily ascertainable by
 3     Sentinel by the date each invoice was provided to ACCS and Gleason from their retained
 4     defense counsel in the Underlying Lawsuit. ACCS and Gleason are entitled to prejudgment
 5     interest from that time forward at the rate of 9% per annum.
 6                                                            27.
 7                 Sentinel is liable for ACCS's and Gleacnn's r&sAnhk attorney                   ni'1,rr     hprpn


 8     pursuant to ORS 742.061.
 9                 WI-JEREFORE, Plaintiffs respectfully pray for judgment in their favor and against
10     Defendant as follows:
11                            Damages in an amount to be proven at trial, but not less than $142,500;
12                            Pre-judgment interest at the rate of 9% per ammm;
13                            Reasonable attorney fees incurred herein pursuant to ORS 742.061;
14                            All other costs and disbursements incurred in this action;
15                            Post-judgment interest at the rate of 9% per annum; and
16                            All other relief that the Court deems just and equitable.
17                 DATED this 15th day of September, 2017.
18                                                           PARSONS FARNELL & GREIN, LLP
19
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